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       DOCUMENT NO.                         DOCUMENT DESCRIPTION

PSJ4 SOL Opp Exh 1               12/4/13 - HDMA Message Development Research:
HDAMDL000031703                  Summary of Qualitative Findings
PSJ SOL Opp Exh 2                2013 – HDMA Presentation – Defining Success
HDAMDL000031775
PSJ4 SOL Opp Exh 3               6/19/15 - HDMA Memorandum entitled “Strategy to
ABDCMDL00269293                  Turn the Tide in West Virginia”
PSJ4 SOL Opp Exh 4               2014, McKesson, Prescription Drug Abuse, The National
MCKMDL00407451                   Perspective
PSJ4 SOL Opp Exh 5               2/4/14 - Presentation - Prescription Drug Abuse: The
ABDCMDL00161397                  National Perspective
PSJ4 SOL Opp Exh 6               1/26/12 - HDMA Position Statement - DEA Rules and
HDAMDL000190487                  Enforcement "Suspicious Orders" Monitoring
PSJ4 SOL Opp Exh 7               6/13/17 email from Kristen Chasen (McKesson) to John
HDAMDL000014961                  Parker re: Fortune 500 article
PSJ4 SOL Opp Exh 8               2/1/01 email between Sackler & Gruber Re: Unique
PDD8801133516                    Valentine Gifts from Chaang
PSJ4 SOL Opp Exh 9               4/4/01 - Purdue Partners Against Pain Advocacy Toolkit
JANMS00304077
PSJ4 SOL Opp Exh 10              3/17/16 –Brunswick – Memorandum re: client Bob
PPLPC029000660000                Josephson, Catherine London, Jesse Smolin; Re: Digital
                                 Crisis Response Plan
PSJ4 SOL Opp Exh 11              3/16 – Brunswick – Purdue Pharma Crisis Keywords
PPLPC022000935566                Reputation management through
                                 targeted paid search advertisements
PSJ4 SOL Opp Exh 12              4/10/200 email chain from Michael Friedman to pdg,
PDD8801104393                    Subject: Dr. Barry Cole
PSJ4 SOL Opp Exh 13              Multi-Jurisdictional Law Enforcement Task Force
SUMMIT000023567-23648            Addendum to 2005 Justice Assistance Grant Application
                                 Continued. Drug Threat Assessment, Summit County,
                                 OH
PSJ4 SOL Opp Exh 14              Ohio Office of Criminal Justice Services - Byrne
SUMMIT000023798-23805            Memorial Grant Program - Area A: Law Enforcement
                                 Task Forces Semi-Annual Performance Report for
                                 reporting period Jan 1-June 30, 2006
PSJ4 SOL Opp Exh 15              Testimony of Capt. Hylton Baker, Summit County Drug
SUMMIT001461080-001461085        Unit
PSJ4 SOL Opp Exh 16              2009 Annual Report Submitted by Capt. E Hylton Baker,
SUMMIT000830645–682              Commander
PSJ4 SOL Opp Exh 17              5/2/08 email from Stephen Seid to Dan Colucci re:
PPLPC004000159312                McKesson Announces Settlement with DEA


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PSJ4 SOL Opp Exh 18               McKesson Controlled Substance Monitoring Program -
MCKMDL00543612-613                Program Guide for Pharmacies
PSJ4 SOL Opp Exh 19               West Virginia ex. rel. McGraw v. AmerisourceBergen et. al.,
                                  2:12-cv-03760, (Jun. 26, 2012)
PSJ4 SOL Opp Exh 20               Excerpts of the deposition of April Vince – 12/13/18
PSJ4 SOL Opp Exh 21               10/25/17 - County of Summit - Emergency Proclamation
SUMMIT001266515
PSJ4 SOL Opp Exh 22               State of Ohio ex rel. Mike DeWine v. Purdue Pharma L.P. et al.,
                                  Case No. CV-17 CI 000261 (Ross County C. P.) –
                                  Complaint
PSJ4 SOL Opp Exh 23               7/26/19 - Cuyahoga County’s Amended Supplemental
                                  Response and Objections to Pharmacy Defendants’
                                  Interrogatory No. 6
PSJ4 SOL Opp Exh 24               2/22/18 - Summit County and City of Akron, Ohio
                                  Plaintiff First Amended Responses and Objections to
                                  Distributor Defendants’ First Set of Interrogatories
PSJ4 SOL Opp Exh 25               6/20/18 - Plaintiffs the County of Cuyahoga, Ohio and
                                  the State of Ohio Ex Rel Prosecuting Attorney of
                                  Cuyahoga County, Michael C. O’Malley’s First Amended
                                  Responses And Objections to Distributor Defendants’
                                  First Set of Interrogatories
PSJ4 SOL Opp Exh 26               1/11/19 – Plaintiffs’ Responses to Supplemental
                                  Interrogatory Issued in Discovery Ruling 12 to Plaintiffs
PSJ4 SOL Opp Exh 27               1/11/19 - Exhibit A to Plaintiffs Supplemental
                                  Responses to Discovery Ruling 12 Supplemental
                                  Interrogatories
PSJ4 SOL Opp Exh 28               1/2017 - Administrative Memorandum of Agreement
MCKM0L00355350                    between McKesson Corporation and the US DOJ DEA
PSJ4 SOL Opp Exh 29               Controlled Substance Monitoring Program
MCKMDL00518064
PSJ4 SOL Opp Exh 30               McKesson Operations Manual for Pharma Distribution
MCKMDL00000021
PSJ4 SOL Opp. Exh 31              Suspicious Order Report
MCKMDL00478912
PSJ4 SOL Opp. Exh 32              8/31/2011 E-mail from Dave Gustin
MCKMDL00507799
PSJ4 SOL Opp. Exh 33              5/1/16 email from Nate Hartle to Krista Peck re:
MCKMDL00410744                    Threshold Reduction Initiative-9143 and 9144
PSJ4 SOL Opp. Exh 34              2/9/15 - McKesson's Controlled Substance Monitoring
MCKMDL00402184                    Program Oxycodone Threshold Reduction Report
PSJ4 SOL Opp. Exh 35              11/3/06 email from Sheila Pacheco to Bruce Russell re:
MCKMDL00543971                    Hydrocodone Reports



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PSJ4 SOL Opp. Exh 36              7/27/06- Cardinal Health Memo to Dan Tolar from
CAH_MDL_PRIORPROD_DEA07           Carolyn McPherson; Subject: June 2006 Regulatory
_00828658                         Compliance Review
PSJ4 SOL Opp. Exh 37              7/27/06 – Regulatory Compliance Review June 2006
CAH_MDL_PRORPROD_DEA07_008
28657
PSJ4 SOL Opp. Exh 38              4/28/14 email from Kim Hownstein to Kimberly Anna-
CAHMDL280400012244                Soisson re: Detecting and reporting suspicious orders and
                                  responding to threshold events
PSJ4 SOL Opp. Exh 39              7/27/06 email from Mignette Strife to Dan Tolar re:
CAHMDL280402350970                Facility Assessment - Birmingham, AL
PSJ4 SOL Opp. Exh 40              5/1/14 email from Kim Howenstein to Kimberly Anna-
CAHMDL280400012953                Soisson re: Adjustments made can you take a quick look
                                  (SOM Program Overview.ppt)
PSJ4 SOL Opp. Exh 41              4/12/13 - Email from Douglas Emma to Christopher
CAHMDL280400009412-13             Forst re: Just a thought
PSJ4 SOL Opp. Exh 42              Excerpts from Amy Propatier Dep. (11/29/2018)
PSJ4 SOL Opp. Exh 43              Excerpts from Dean Vanelli Dep. (1/16/2019)
PSJ4 SOL Opp. Exh 44              9/1/10 - Email from John H. Mortelliti to Ron
CVSMDLT1000075299                 Richmond re: DEA Speaking Points
PSJ4 SOL Opp. Exh 45              Excerpts from Frank Devlin Dep. (1/10/2019)
PSJ4 SOL Opp. Exh 46              3/6/13 - Email from Christopher Dymon to Tasha
WAGMDL00302958                    Polster re: Cardinal Meeting Today
PSJ4 SOL Opp. Exh 47              10/9/12 - Email from Steven Mills to Mariel Matus De
WAGMDL00246284                    La Para re: ORDER OF INTEREST - WALGREENS
                                  5088 (DEA #BB6213487)
PSJ4 SOL Opp. Exh 48              10/16/12 Email from Michael Federico to Steven Mills
WAGMDL00242055                    re: Walgreens #2865 DEA: BW4243426
PSJ4 SOL Opp. Exh 49              2/4/14 Email from Steven Mills to Patricia Daugherty re:
WAGMDL00095316                    Completed Market 12 Presentation
PSJ4 SOL Opp. Exh 50              2/5/14 – Market 12 Rx Integrity Presentation, Patricia
WAGMDL00095317                    Daugherty
PSJ4 SOL Opp. Exh 51              7/2013 – Sales Talking Points – Low Volume Accounts
ABDCMDL00278212
PSJ4 SOL Opp. Exh 52              7/14/10 email from Patrick Cochrane to Jay Spellman re:
AndaOpioidsMDL0000108116          discussion strategy document
PSJ4 SOL Opp. Exh 53              Excerpts from Emily Hall Schultz Dep., 1/22/19
PSJ4 SOL Opp. Exh 54              Healthcare Distribution Management Association
                                  Industry Compliance Guidelines
PSJ4 SOL Opp. Exh 55              2/10/17 – email chain from David May to Todd
HDSMDL00492992                    Cameron, et al. re: HAD Opportunity
PSJ4 SOL Opp. Exh 56              Excerpts from Terry Albanese Dep. 1/4/19
PSJ4 SOL Opp. Exh 57              5/10/19 Excerpts of Expert Report of Gregory K. Bell,
                                  Ph.D.

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PSJ4 SOL Opp. Exh 58              5/10/19 – Excerpts of Expert Report of Thani
                                  Jambulingam, Ph.D.




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